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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
In re:                                                             Chapter 11

Marlene Marshalleck                                                Case No. 17-42418 (NHL)
aka Marlene A. Marshalleck
aka Marlene E. Marshalleck,

                                             Debtor.
-----------------------------------------------------------X

  ORDER AUTHORIZING AND APPROVING RETENTION OF ARLENE GORDON-
      OLIVER & ASSOCIATES, PLLC AS ATTORNEYS FOR DEBTOR AND
     DEBTOR IN POSSESSION, NUNC PRO TUNC AS OF THE FILING DATE

        UPON the application of Marlene Marshalleck, the debtor and debtor-in-possession (the

“Debtor”) requesting authority for Debtor to employ and appoint Arlene Gordon-Oliver &

Associates, PLLC (“AGOPLLC”) as bankruptcy counsel to represent her as the Debtor herein (the

“Application”), and upon the affidavit of Arlene Gordon-Oliver, Esq., and it appearing that Arlene

Gordon-Oliver, Esq. is an attorney duly admitted to practice in this Court; and the Court being

satisfied that AGOPLLC represents no interest adverse to the Debtor, or to her respective estate,

and is a disinterested person within the meaning of § 101(14) of the Bankruptcy Code; and that its

employment is necessary and would be in the best interests of the Debtor’s estate, it is hereby

        ORDERED, that the Application is granted as set forth herein; and it is further

        ORDERED, that to the extent the Application or the affidavit of Arlene Gordon-Oliver,

Esq. is inconsistent with this Order, the terms of this Order shall govern; and it is further

        ORDERED, that, notwithstanding any provision to the contrary in the Application, the

Court shall retain jurisdiction to hear and to determine all matters arising from or related to

implementation of this Order; and it is further

        ORDERED, that AGOPLLC shall be compensated for fees and reimbursed for reasonable
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and necessary expenses and will file interim and final fee applications for allowance of its

compensation and expenses in accordance with sections 330 and 331 of the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, the Guidelines for Fees and Disbursements for Professionals

in the Eastern District of New York Bankruptcy Cases, and the United States Trustee Fee

Guidelines (collectively, the “Fee Guidelines”); and it is further

       ORDERED, that prior to any increases in AGOPLLC rates, as set forth in paragraph 11 of

the affirmation of Arlene Gordon-Oliver, Esq., for any individual retained by AGOPLLC and

providing services in this case, AGOPLLC shall file a supplemental affirmation with the Court

and provide ten business days’ notice to the Debtor, the United States Trustee and any official

committee. The supplemental affirmation shall explain the basis for the requested rate increases in

accordance with Section 330(a)(3)(F) of the Bankruptcy Code and state whether Professional’s

client has consented to the rate increase. The United States Trustee retains all rights to object to

any rate increase on Bankruptcy Code, and the Court retains the right to review any rate increase

pursuant to Section 330 of the Bankruptcy Code.

NO OBJECTION:
OFFICE OF THE U.S. TRUSTEE


By: /s/ Marylou Martin 8/7/17




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 Dated: Brooklyn, New York                                              Carla E. Craig
        August 14, 2017                                         United States Bankruptcy Judge
